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                    EXHIBIT A
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                                                                             Page 1
                  UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS

    IN RE: PHARMACEUTICAL INDUSTRY
    AVERAGE WHOLESALE PRICE
    LITIGATION                        MDL No. 1456
    _________________________________
    THIS DOCUMENT RELATES TO:         Master File No.
                                        01-CV-12257-PBS
    _________________________________ Subcategory No.
                                        06-CV-11337-PBS
    United States of America, ex rel.
    Ven-A-Care of the Florida Keys,   Judge Patti B. Saris
    Inc., v. Abbott Laboratories,
    Inc.                              Magistrate Judge
                                       Marianne B. Bowler
    CIVIL ACTIN NO. 06-11337-PBS

                           CONFIDENTIAL
      VIDEOTAPED DEPOSITION OF ELVIN M. MONTANEZ, PHARM.D.
        Taken on Behalf of the United States of America
                            VOLUME I

              DATE TAKEN:     APRIL 29, 2009
              TIME:           9:05 a.m. - 5:01 p.m.
              PLACE:          Sheraton Orlando North
                              600 North Lake Destiny Drive
                              Maitland, FL 32751



                  Stenographically Reported by:
                       Delina M. Valentik,
                Registered Professional Reporter
                  Florida Professional Reporter




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                                             Page 174                                                Page 176
 1      Q. Prior to the break we were talking            1          As part of being a pharmacist you have
 2   about the time that you spent doing analyses as     2   to take responsibility for servicing your
 3   part of developing your opinions in this case.      3   patients after hours which means that you're on
 4      A. Uh-huh.                                       4   your own and your normal responsibilities as a
 5      Q. And you said you spent 15 hours on            5   pharmacist during a regular work day would be to
 6   what we've termed as a labor analysis.              6   service the clinical aspects, you know, study the
 7      A. Uh-huh.                                       7   patients. But after hours you yourself may be
 8      Q. Is that fair?                                 8   the one that was actually doing the mixing, who's
 9      A. Uh-huh.                                       9   actually doing the delivery, who's actually doing
10          MR. TORBORG: Object to form.                10   the checking, you're working on your own and in
11   BY MS. ST. PETER-GRIFFITH:                         11   many home infusion companies that's the case,
12      Q. And on hour on supplies -- on a supply       12   after hours is a skeleton crew.
13   analysis?                                          13          So the experience that I have in those
14      A. Uh-huh.                                      14   15 hours is both through observation and through
15      Q. What did you do in those 15 hours to         15   self, you know, participating in myself.
16   do your analysis, to perform your analysis for     16       Q. So are you testifying that you spent
17   the labor analysis?                                17   15 hours working in the pharmacy or observing
18      A. Well, the labor analysis that was            18   other pharmacists?
19   probably something that, you know, that takes      19          MR. TORBORG: Objection form, misstates
20   place -- again, if you asked me to tell you how    20   testimony.
21   home infusion service is provided, I can do that   21          THE WITNESS: I'm testifying that, yes,
22   in very short order. I can write down for you,     22   I observed pharmacists. I mean, I am the
                                             Page 175                                                Page 177
 1   you know, what we do because we do it every day.   1    operations manager in these pharmacies that, you
 2   So my analysis of 15 hours that was actually       2    know, I work for. So observation is -- is, you
 3   conducted beyond -- previous to what was required 3     know, common to what I have to do on a daily
 4   in this report. You know, part of it you see in    4    basis. But I observe them. And I also
 5   that infusion partners diagram. That was part of   5    participated in what they did.
 6   my 15 hours as far as the study. So you can look   6           I also observed the -- you know, the
 7   at that analysis there and you can see I had to,   7    nurse that was doing the intake coordination.
 8   one, participate either sitting with a pharmacist  8    BY MS. ST. PETER-GRIFFITH:
 9   or participating as a pharmacist in the activity   9        Q. Okay. How much time and when did you
10   in this case I did both. I observed pharmacists   10    spend observing pharmacists in formulating your
11   that were working for me at the time. And I also  11    labor analysis?
12   participated as a pharmacist at the time          12           MR. TORBORG: Object.
13   servicing patients, documenting my time, knowing, 13           THE WITNESS: Again, I think I've
14   you know, just from looking at the clock knowing 14     answered that as far as the 15 hours. But I can
15   how long it takes for me to do the particular     15    tell you that over the 14 years I've done it on
16   services that were documented. Also checking the 16     many occasions.
17   product compounding. You know, the people who 17        BY MS. ST. PETER-GRIFFITH:
18   are in the sterile product compounding area of    18        Q. I'm -- I don't think you have answered
19   the home infusion rooms also called SPCs, looking 19    the question with regard to the 15 -- well, let's
20   at how long it takes for them to make seven bags  20    start this. When did you expend those 15 hours
21   of TPN or, you know, three bags of vancomycin and 21    conducting this analysis?
22   also doing it myself.                             22        A. Over the process of 15 years I would
                                                                              45 (Pages 174 to 177)
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 1   was how he -- how was he an expert in home         1    comfort level with what was happening in the
 2   infusion or something like that. And he started    2    home. That process continued when I was promoted
 3   with his first experience. And looks like you're   3    to the corporate office to be the director of
 4   moving on. Do you want him to go through all of    4    clinical operations in which I revamped all the
 5   his experience now or do you want to do it sort    5    policies and procedures for at the time it was
 6   of in piecemeal?                                   6    six home infusion operations.
 7          THE WITNESS: I mean, I think we should      7        Q. I don't want to interrupt you as
 8   since the question was asked because I don't       8    you're discussing this.
 9   think I've answered it thoroughly, but that's how  9        A. Uh-huh.
10   I started.                                        10        Q. But can I just ask you for the names
11          MS. ST. PETER-GRIFFITH: I was planning 11        of the entities and the years as you go through
12   on having him go through each and every --        12    your experience.
13          MR. TORBORG: Okay. If you're going to 13             A. Okay. Well, I was promoted in 1998 to
14   do it by steps, that's fine.                      14    ProHealth Medical which is their corporate
15          MS. ST. PETER-GRIFFITH: Yeah. I was 15           office. Florida Hospital Home Infusion was the
16   planning on doing it by steps, sort of.           16    name of the pharmacy, home infusion pharmacy
17          THE WITNESS: Okay.                         17    where I started in home infusion.
18   BY MS. ST. PETER-GRIFFITH:                        18           Good Samaritan Medical Center was where
19       Q. But I want you to tell me why it is --     19    I was the director of pharmacy prior to that and
20       A. Uh-huh.                                    20    I was the director for four years.
21       Q. -- Dr. Montanez, that you are holding      21           My CV kind of chronologically goes
22   yourself as an expert in home infusion.           22    through all of that, so if you want to use that
                                            Page 195                                               Page 197
 1       A. Okay. I believe from that point until        1   as a reference, it's there, I believe.
 2   1998 I worked as a home infusion pharmacist and     2       Q. We can -- we can use it or whatever is
 3   many of my colleagues told me that I was            3   easiest for you --
 4   innovative and I did things that other              4       A. Okay.
 5   pharmacists either weren't capable of doing or      5       Q. -- to discuss the answer to the
 6   weren't willing to do. And that is I went, you      6   question --
 7   know, into patients homes. I experienced health     7       A. Uh-huh.
 8   care firsthand. It wasn't just, you know, behind    8       Q. -- about the bases for your expertise.
 9   the counter or in a laboratory creating drugs. I    9   I believe the CV, if you want to refer to it, is
10   went to patients homes with those drugs. I         10   the exhibit that we looked -- it was the last
11   delivered. I saw every aspect. And that enabled    11   page Exhibit 4.
12   me to really discuss in a meaningful way what      12       A. Okay. I don't think I need it.
13   needed to be done with a patient when discussing   13       Q. Okay. Well --
14   it with their primary caregiver. That set me       14       A. Because I'm pretty familiar with the
15   apart as an expert in pharmacy, as a pharmacist.   15   CV.
16       Q. Okay.                                       16       Q. Okay.
17       A. I think physicians were recognizing         17       A. But I was promoted at the time to
18   that. And we saw the referral activity increase    18   ProHealth Medical where I became the director of
19   as a result. We actually heard in many areas       19   operations and -- clinical operations and from
20   physicians specifically requesting that home       20   there the director of operations which involved
21   infusion be provided by a specific entity, the     21   all clinical and nonclinical activities and I've
22   entity that I worked for, as a result of their     22   been the vice president of operations for
                                                                             50 (Pages 194 to 197)
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                                           Page 198                                                 Page 200
 1   ProHealth Medical since I want to say 2004 or       1   organization.
 2   2003.                                               2   BY MS. ST. PETER-GRIFFITH:
 3       Q. Is that a position you currently hold?       3       Q. Okay. Any other reason why you're a
 4       A. That is the position I currently hold.       4   home infusion expert?
 5       Q. Do you have any --                           5       A. I'm sure I could go on, but I think,
 6          MR. TORBORG: Excuse me. I just want          6   you know, this deposition should, you know,
 7   to make sure, do you have anything else you want    7   probably have what I'm trying to say is I'm an
 8   to say about why you believe you're an expert in    8   expert because I've been involved in every aspect
 9   the area of home infusion?                          9   of home infusion you can think of. Every aspect
10          THE WITNESS: Again, because I do it         10   you can think of. I've been involved in it. If
11   every day. I've been doing it every day for the    11   it was in home care or home infusion, I was aware
12   past 14 years. I've been taking care of patients   12   of it and I was -- I was involved in it.
13   for the past 14 years. I've been contracting       13       Q. You use the term continuously reading,
14   with third party payors for the past 14 years.     14   what information do you continuously read?
15   When I was even a pharmacist I was involved in     15       A. Whatever comes across, you know, my
16   the contracting even though it wasn't my direct    16   desk. I have, you know, as a member of the
17   responsibility I was asked, what are we looking    17   National Home Infusion Association, you know,
18   at as far as, you know, this proposal, you know.   18   you're preview to their website, so, you know,
19   Back in the days when capitation was common, I     19   you can always go into their website and read new
20   was asked to evaluate what -- what capitation      20   articles. They have list serves that you can
21   risks are we looking at here and look at the       21   participate in. These list serves are, you know,
22   conditions, again, I've been doing it every day,   22   very active. You know, you throw out questions.
                                           Page 199                                                 Page 201
 1   buying, selling the services, developing policy    1    You communicate electronically as a community
 2   and procedure for those services, modifying the    2    resources and it's actually quite, you know,
 3   policies and procedures for those services,        3    quite efficient.
 4   adapting everything that has been brought to our   4           There's journals. There's American
 5   industry's attention either through                5    Society of Health System Pharmacists. You know,
 6   accreditation, through government, through, you    6    they have a journal called the American Journal
 7   know, third party payor requirements, you know,    7    of Hospital Pharmacy. You know, probably other
 8   even the scientific, you know, body of health      8    journals out there that I'm not citing, but if it
 9   care when new conditions or new disease states     9    catches your eye, you pick it up and you read it.
10   are identified as being a viable option for       10        Q. Anything else that you can recall
11   treatment in the alternate site which is another  11    reading?
12   term for home infusion, an alternate site other   12        A. No. I've read more than I can recall.
13   than hospital, I've been involved in it.          13        Q. Okay. You indicated earlier that
14          I've, you know, if your -- I think if      14    ProHealth -- is ProHealth the parent company for
15   you're in a specific profession for as long --    15    six home infusion operations.
16   you know, if it's your chosen profession, not     16        A. They're a parent company now for five.
17   only are you going to be involved in it every     17    At one point it was six. We had a joint venture
18   day, but you're also going to continuously be     18    with Orlando Regional Home Infusion which is no
19   reading, you know, you're going to be reading     19    longer in operation. I believe that was
20   things that may be pertinent to your industry     20    purchased by Orlando Regional Hospital some time
21   either through internet bulletins or e-mails or   21    in 1990, I would like to say eight. And I'd like
22   through journals, through your membership in your 22    -- I believe the purchase was because we ran such
                                                                             51 (Pages 198 to 201)
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                                           Page 202                                               Page 204
 1   a good -- such a good program that the hospital   1    experience as an expert in this case.
 2   said we want to take this over, we like it so     2        A. Okay.
 3   much.                                             3        Q. So what are your job responsibilities,
 4       Q. What are the other entities?               4    let's start with for ProHealth.
 5       A. The other entities are Florida             5        A. Okay. Again, policy and procedure
 6   Hospital Home Infusion, Broward Infusion Group, 6      really involves process, structure and function
 7   H. Lee -- I mean, not H. Lee -- Access Infusion   7    of your business. I'm involved in everything
 8   Partners. Health First Infusion. And BioPlus      8    there from A to Z. So that makes me very familiar
 9   Specialty Pharmacy Services.                      9    with the processes and procedures that are
10       Q. Is -- what is ProHealth?                  10    conducted at every one of the facilities.
11       A. ProHealth is a -- like a parent           11            The contracting side I'm directly
12   company that's like -- acts as a management      12    responsible for participating and assisting in
13   company. ProHealth is where we develop policy 13       contract negotiations with third party payors.
14   and procedure. We handle all of the HR and       14    Sometimes, you know, adjudicating and resolving,
15   benefits, accounting, both receivables and       15    you know, problem claims. You know, looking at,
16   payables for all of those entities. What we did  16    you know, various issues that may have a claim
17   was we created a business model that allowed us 17     held up that has an operational or clinical
18   to develop infusion companies without investing 18     question, I'll help in -- in that regard.
19   in all that resource each time we develop an     19            Purchasing, we decide purchasing policy
20   infusion center, so you can call it a management 20    based on cost effectiveness, cost efficiency,
21   company.                                         21    performance of a product or supply.
22       Q. Okay. Is it also a distribution -- a      22            The technology, the IT department
                                           Page 203                                               Page 205
 1   distributor pharmacist --                          1   reports directly to me and so we're constantly
 2       A. No.                                         2   looking at health care technologies, what works,
 3       Q. -- pharmacy?                                3   what doesn't work. You know, what theoretically
 4       A. They don't -- ProHealth does not            4   saves you money. What actually saves you money.
 5   purchase anything or sell anything.                5           The billing department, in that case
 6       Q. Are you at all involved with any            6   we're always looking at performance where are we
 7   entity other than ProHealth and these five         7   performing well, where aren't we. When it comes
 8   interrelated infusion pharmacies?                  8   to billing I think it really has more to do with
 9       A. I am. I'm involved with the National        9   the fact that there really is no standardized
10   Home Infusion Association.                        10   billing format for home infusion, so a lot of it
11       Q. Okay.                                      11   is still paper, HCFA-1500s. Some of it is being
12       A. American Society of Health System          12   done electronically now. But it's very laborious
13   Pharmacists, Florida Society of Health System     13   and so you have to get involved in how efficient
14   Pharmacy and the -- I've been on the board for    14   that process works.
15   the Community Health Accreditation Program for -- 15       Q. Anything else for ProHealth?
16   on my third term and each term is three years.    16       A. Well, I'm on the executive team. You
17       Q. Okay. What I'd like to go over now,        17   know, the executive team is always looking -- I
18   sir, is what specific experience that you have    18   think the executive team looks at current and
19   with these entities, with ProHealth and these --  19   forward thinking projects. We tend to be a
20   these interrelated pharmacies --                  20   little bit bigger on the scope there as to what
21       A. Uh-huh.                                    21   emerging opportunities are there in home infusion
22       Q. -- that you contend inform your            22   that we could, you know, participate in.
                                                                            52 (Pages 202 to 205)
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                                             Page 234                                                 Page 236
 1   for my company to be exposed to right now.           1   using AWP minus.
 2       Q. Well, your report discusses the               2      Q. AWP minus a percentage?
 3   complaint products, does it not?                     3      A. Yeah.
 4       A. It does.                                      4      Q. Okay. So did you ever notify in
 5       Q. Okay. All I'm trying to find out              5   between -- for the '91 -- I'm sorry. For the '95
 6   about is and what we can do is why don't we start    6   through 2001 time frame did you ever notify
 7   going back to '95.                                   7   Florida Medicaid as to what your estimated
 8       A. Uh-huh.                                       8   acquisition cost was for any of the vancomycin
 9       Q. Or for any point in time from the '91         9   products that you were billing to Florida
10   -- well, your experience with the complaint         10   Medicaid?
11   products --                                         11          MR. TORBORG: Object to form.
12       A. Uh-huh.                                      12          THE WITNESS: You know, if I notified
13       Q. -- only dates back to --                     13   'em it was because they asked for it. I never
14       A. '95.                                         14   volunteered the information.
15       Q. -- '95. Okay.                                15   BY MS. ST. PETER-GRIFFITH:
16       A. My experience with the complaint             16      Q. Why not?
17   products go back beyond that, but as it pertains    17      A. Because I thought that was public.
18   to the hospital.                                    18   I'm inquiring -- as far as AWP, that's public
19       Q. Okay.                                        19   record. As far as the acquisition cost, you
20       A. Okay.                                        20   know, if we had to report it, I would have. And
21       Q. So not the home infusion market?             21   I'm sure I did, if I had to.
22       A. No.                                          22      Q. Did you -- did you recover a spread in
                                             Page 235                                                 Page 237
 1       Q. Is it fair to say that your home              1   between the -- for the '95 through 2001 time
 2   infusion experience begins in '95?                   2   period, did you recover a spread for your
 3       A. Yes.                                          3   vancomycin Medicaid billings between what you
 4       Q. From '95 through 2001 what was                4   paid for it and what you recouped from Florida
 5   ProHealth or any of the interrelated pharmacies      5   Medicaid?
 6   paying Abbott for vancomycin?                        6       A. I did.
 7          MR. TORBORG: Object to form.                  7          MR. TORBORG: Object to form.
 8          THE WITNESS: Again, it would be, you          8   BY MS. ST. PETER-GRIFFITH:
 9   know, it would be a range of, you know, the cost.    9       Q. Do you remember what the general range
10   I'd have to go back and -- and see. We'd have to    10   of that spread was?
11   look at it and see. I can only tell you it would    11       A. I don't recall off the top of my head.
12   be -- you know, it's not all that different.        12       Q. Was that spread important to the
13          MR. TORBORG: Which vancomycin?               13   operation of ProHealth or any of the interrelated
14          THE WITNESS: You know, there's the --        14   pharmacies?
15          MS. ST. PETER-GRIFFITH: Any of them.         15       A. It was important to covering the cost
16          THE WITNESS: The 500 milligram. The          16   of the interrelated pharmacy.
17   one gram. I'd have to go back and see.              17       Q. And what cost did it cover?
18   BY MS. ST. PETER-GRIFFITH:                          18       A. It covered the cost of the services.
19       Q. Do you remember what you were billing        19   I believe I go into that in pretty good detail in
20   Florida Medicaid for vancomycin?                    20   my expert report.
21       A. I remember that it was being billed at       21       Q. So your expert report then it's your
22   AWP and the formula integer I think they were       22   contention explains how ProHealth and its
                                                                               60 (Pages 234 to 237)
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                                            Page 238                                                    Page 240
 1   interrelated pharmacies used the vancomycin          1   utilized to pay for. The indirect cost I think go
 2   spread. Correct?                                     2   into -- we can -- you know, it's -- it's very
 3           MR. TORBORG: Object to form.                 3   exhaustive, but the ABT report, I think, does a
 4           THE WITNESS: No, we didn't use the           4   very good job of detailing that.
 5   vancomycin spread. It was there. You know, we        5       Q. This is the ABT report that you
 6   just -- I think if you're suggesting that we         6   referenced before?
 7   purchased vancomycin to take advantage of the        7       A. The ABT report that is referenced in
 8   spread, no, that wasn't the case. Vancomycin was     8   2006.
 9   an order that comes on a prescription and let me     9       Q. The one that you didn't utilize the
10   tell you in '95 through 2001 there were very few    10   paper for your -- purposes of your report, just
11   manufacturers of that particular product and even   11   your recollection?
12   fewer manufacturers that were able to produce it    12       A. Correct.
13   on a readily available basis so that you could      13       Q. Did that ABT report have anything to
14   acquire it and provide it.                          14   do with Florida Medicaid?
15   BY MS. ST. PETER-GRIFFITH:                          15       A. No. It had everything to do with the
16        Q. In billing Florida Medicaid why didn't      16   per diem costs, the service costs, the direct and
17   you use the estimated acquisition cost?             17   indirect costs of providing drugs such as
18           MR. TORBORG: Object to form.                18   vancomycin.
19           THE WITNESS: The estimated acquisition      19       Q. In what state did the ABT report
20   cost is something if I was required to provide      20   pertain?
21   it, I provided it. Was I required to provide it?    21       A. I believe --
22   BY MS. ST. PETER-GRIFFITH:                          22          MR. TORBORG: Object to form.
                                            Page 239                                                    Page 241
 1       Q. Well, you testified earlier that you          1          THE WITNESS: Yeah, I believe they
 2   billed AW -- AWP minus.                              2   didn't make state conclusions. I think they made
 3       A. Uh-huh.                                       3   general conclusions.
 4       Q. You never told Florida Medicaid what          4          MS. ST. PETER-GRIFFITH: Okay.
 5   you were actually paying for the product?            5          THE WITNESS: By taking samples from
 6       A. If they required that I report it, I'm        6   different states.
 7   sure I did. I mean, I was compliant with             7   BY MS. ST. PETER-GRIFFITH:
 8   Medicaid.                                            8       Q. Any other services that you utilized
 9       Q. Okay. What did you utilize the                9   the vancomycin spread to pay for?
10   vancomycin spread to pay for? You said services,    10       A. Vancomycin cost of providing the
11   anything else?                                      11   service.
12       A. And supplies.                                12       Q. Do you know whether the federal law
13       Q. And this is for the entire '95 through       13   authorized the use of Medicaid funds to pay for
14   2001 time period?                                   14   these services?
15       A. Certainly.                                   15          MR. TORBORG: Object to form.
16       Q. What service and supplies did you            16          THE WITNESS: I'm sure you're going to
17   utilize the vancomycin spread to pay for?           17   tell me. I can go back and look at my reports,
18       A. The services include everything that's       18   but you're saying the federal law, off the top of
19   included in providing vancomycin care. All the      19   my head right now, no.
20   clinicians, technicians, drivers, nurses involved   20   BY MS. ST. PETER-GRIFFITH:
21   in any particular case of vancomycin. There is      21       Q. What about supplies, what supplies did
22   the overhead or the indirect costs that that was    22   you utilize -- what supplies did ProHealth for
                                                                               61 (Pages 238 to 241)
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